      Case 4:04-cr-00117-SWW        Document 212     Filed 05/24/07   Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                       NO. 4:04CR00117-003 SWW

WILLIE DONSON


                                          ORDER

      The above entitled cause came on for hearing on petitions to revoke

the supervised release previously granted this defendant in the United

States District Court for the Eastern District of Arkansas.                    Upon the

basis of admissions by defendant, the Court found that defendant has

violated the conditions of his supervised release without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the government’s motions1

are granted, and the supervised release previously granted this defendant

in the above matter hereby is revoked.

      IT    IS    FURTHER     ORDERED   that   defendant   shall   serve   a   term   of

imprisonment of TEN (10) MONTHS in the custody of the Bureau of Prisons.

The Court recommends that defendant not be incarcerated in a facility

located in Texas because of Asian gangs there.              In addition, the Court

recommends that defendant participate in a substance abuse drug treatment

program during incarceration.

      There will be no supervised release following defendant’s term of

imprisonment.

      The balance of the restitution previously imposed in the amount of

$12,925.38 is mandatory and remains due and payable in this matter.


      1
       Docs. #197 and #208.
    Case 4:04-cr-00117-SWW   Document 212   Filed 05/24/07   Page 2 of 2



During his incarceration, defendant shall pay 50 percent per month of all

funds that are available to him on the restitution owed.       The interest

requirement is waived.

     All other terms and conditions of supervised release previously

imposed shall remain in full force and effect.

     Defendant is remanded to the custody of the United States Marshal

to immediately begin service of the sentence imposed.

     IT IS SO ORDERED this 24th day of May, 2007.



                                       /s/Susan Webber Wright

                                       UNITED STATES DISTRICT JUDGE
